Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF LOUISIANA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Linder Oil Company, A Partnership

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  106 Park Place, Ste. 200
                                  Covington, LA 70433
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Vermilion                                                       Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  673 Lowry Hwy Lake Arthur, LA 70549
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 1 of 69
Debtor    Linder Oil Company, A Partnership                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Linder Oil Company, A Partnership                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Linder Oil Company, A Partnership                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 10, 2017
                                                  MM / DD / YYYY


                             X   /s/ G. Miles Biggs, Jr.                                                  G. Miles Biggs, Jr.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Co-Manager




18. Signature of attorney    X   /s/ H. Kent Aguillard                                                     Date October 10, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 H. Kent Aguillard
                                 Printed name

                                 H. Kent Aguillard
                                 Firm name

                                 P. O. Box 391
                                 Eunice, LA 70535
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     337-457-9331                  Email address


                                 02354
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     Linder Oil Company, A Partnership                                                Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF LOUISIANA

Case number (if known)                                                   Chapter      7
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Destin Resources LLC                                                    Relationship to you               Affiliate
District   Western District of Louisiana              When                         Case number, if known             Not yet filed
Debtor     Reserves Management, L.C.                                               Relationship to you               Affiliate
District   Western District of Louisiana              When                         Case number, if known             Not yet filed




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 5
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re       Linder Oil Company, A Partnership                                                                Case No.
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,665.00
             Prior to the filing of this statement I have received                                        $                     3,665.00
             Balance Due                                                                                  $                         0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor(s) in any adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 10, 2017                                                            /s/ H. Kent Aguillard
     Date                                                                        H. Kent Aguillard 02354
                                                                                 Signature of Attorney
                                                                                 H. Kent Aguillard
                                                                                 P. O. Box 391
                                                                                 Eunice, LA 70535
                                                                                 337-457-9331 Fax: 337-457-2917
                                                                                 Name of law firm




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                       106 Park Place, LLC
                       106 Park Place, Ste. 301
                       Covington, LA 70433



                       5055 Investment, LLC
                       4224 Rhone Drive
                       Kenner, LA 70065



                       A & W Operating Services, Inc.
                       P. O. Box 520
                       Pierre Part, LA 70339



                       A. Cecil Zeringue
                       P.O. Box 9188
                       Houma, LA 70361



                       Abe's Boat Rental's Inc.
                       P. O. Box 549
                       Covington, LA 70433



                       Abramowics Energy 1, LLC
                       22 Chateau Trianon Dr.
                       Kenner, LA 70065



                       Abramowicz Energy, LLC
                       22 Chateau Trianion, Dr.
                       Kenner, LA 70065



                       Acme Truck Line, Inc.
                       MSC-410683
                       P. O. Box 41500
                       Nashville, TN 37241-5000



                       AFCO
                       P. O. Box 4795
                       Carol Stream, IL 60197-4795




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                   AFLAC
                   Worldwide Headquarters
                   Columbus, GA 31999



                   Aggreko, LLC
                   4607 W. Admiral Doyle Dr
                   New Iberia, LA 70560



                   Airgas Priority Nitrogen, LLC
                   P. O. Box 951873
                   Dallas, TX 75395-1873



                   Airgas USA, LLC
                   P. O. Box 676015
                   Dallas, TX 75267-6031



                   Alfred P. Zeringue
                   56135 Hwy 445
                   Husser, LA 70442



                   Alfred W. Taylor Estate
                   201 Heymann Blvd., Ste. 30
                   Lafayette, LA 70503



                   Alice Z. Brandt
                   114 N. Summit Street
                   Fairhope, AL 36532



                   Allison Offshore Services
                   101 Galbert Rd.
                   Lafayette, LA 70506



                   American Recovery, LLC
                   6201 E Main St.
                   Cut Off, LA 70345




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                   American Safety & Industrial Sup
                   111 Matrix Loop
                   Lafayette, LA 70507



                   Ann Bullock Martin Jennings
                   116 Riverside Drive
                   Greenville, SC 29605



                   Anthony J. Saladino
                   3728 Severn Ave.
                   Metairie, LA 70002



                   Anthony Paul Zeringue
                   41134 Hwy 933
                   Prairieville, LA 70769



                   Anyson & Doris Scioneaux
                   4977 La. Hwy. 18
                   Saint James, LA 70086



                   Archrock Services, LP
                   P. O. Box 201160
                   Dallas, TX 75320-1160



                   Aries Marine Corporation
                   P. O. Drawer 51789
                   Lafayette, LA 70505



                   Arthur Billingsley
                   P. O. Box 53061
                   Lafayette, LA 70505



                   Arthur L. Billingsley
                   P. O. Box 53061
                   Lafayette, LA 70505




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                   AT & T
                   P. O. Box 105262
                   Atlanta, GA 30348-5262



                   AT & T Mobility
                   P. O. Box 6463
                   Carol Stream, IL 60197-6463



                   Atchaflalaya Measurement, Inc.
                   124 Credit Drive
                   Scott, LA 70583



                   Austral Oil Trust
                   Mary Fagan, TTEE-c/o P. Fagan
                   P. O. Drawer 2220
                   Southampton, NY 11969-2220



                   AWP 1983 Trust
                   3310 West Main Street
                   Houston, TX 77098



                   AXIP Energy Services, LP
                   P. O. Box 732170
                   Dallas, TX 75373-2170



                   B & A Rentals & Supply, Inc.
                   P. O. Box 526
                   Broussard, LA 70518



                   B & J Corporation
                   P. O. Box 967
                   Lake Arthur, LA 70549



                   B & J Dock, LLC
                   P. O. Box 967
                   Lake Arthur, LA 70549




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                   B & L Exploration, LLC
                   One Galleria Blvd., Ste. 902
                   Metairie, LA 70001



                   B-ENT Kmatt, Inc.
                   P. O. Box 185
                   Dequincy, LA 70633



                   B. R. Higgins
                   106 Park Place, Ste. 200
                   Covington, LA 70433



                   Baker Hughes Oilfield Operations
                   5800 Hwy. 190 East
                   Broussard, LA 70518



                   Barbara Ann Cazes Becnel
                   P. O. Box 22
                   Saint James, LA 70086



                   Barbara Jean Becnel
                   P. O. Box 8
                   Saint James, LA 70086



                   Barbara Lee Hugo
                   5405 Caleb Ave.
                   Sacramento, CA 95819



                   Barracuda Oil Tolls, LLC
                   1247 Coteau Rd.
                   Houma, LA 70364



                   Basin Exploration, Inc.
                   200 Travis, Ste. 201
                   Lafayette, LA 70503




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                   Bayou Inspection Services, Inc.
                   d/b/a Bayou Testers
                   P. O. Box 2336
                   Morgan City, LA 70381



                   Bell Investments, LLC
                   Attn: John E. Bell
                   460 Carmargue Lane
                   Biloxi, MS 39531



                   Benoit Premium Threading, LLC
                   Dept. 3219
                   P. O. Box 123219
                   Dallas, TX 75312-3219



                   Bermuda Dunes,LLC
                   5847 Heavenly Midst Lane
                   Las Vegas, NV 89135



                   Bernard B. Becnel, Jr.
                   220 Maxime Blvd.
                   Gray, LA 70359



                   Betty A. White Mioton
                   2828 State Street
                   New Orleans, LA 70118-5632



                   Betty Ann's Land, LLC
                   1746 East Nelson St.
                   Gonzales, LA 70737



                   Billy A. Blachett
                   12982 Portage Rd.
                   Vicksburg, MI 49097



                   Blue Heron Consulting, LLC
                   205 Kipling Lane
                   Mandeville, LA 70448



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                   Bobbie T. Pierce
                   9532 Ventura Drive
                   Baton Rouge, LA 70812



                   Bobby Blanchett
                   563 CR 303
                   Jonesboro, AR 72401



                   Bourque Vacuum Service, Inc.
                   713 Colorado Rd.
                   Duson, LA 70529



                   Bowie Lumber Associates
                   A Partnership ion Commendam
                   228 St. Charles Ave.
                   New Orleans, LA 70130



                   BP Exploration & Prod. Inc
                   200 Westlake Park Blvd
                   Houston, TX 77079



                   Braden C. Despot
                   P. O. Box 53381
                   Lafayette, LA 70505



                   Bradley E. Billingsley
                   P. O. Box 52701
                   Lafayette, LA 70505



                   Brenda Allday
                   15189 Melrose Dr
                   Prairieville, LA 70769



                   Brenda Bright Keller
                   728 Fielding Ave
                   Gretna, LA 70056




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                   Brenda J. Hunt
                   12289 MS Hwy. 12 West
                   Starkville, MS 39759



                   Brian E. Adorna, CPA, APC
                   P. O. Box 9577
                   Metairie, LA 70055-9577



                   Brian Joseph Zeringue
                   41134 Hwy 933
                   Prairieville, LA 70769



                   Brothers Oilfield SVC & Supply
                   P. O. Box 53408
                   Lafayette, LA 70505



                   Bryan L. Dormoy
                   1305 Belmont Place
                   Metairie, LA 70001



                   Cabil Oil Partners, LP
                   #3 Brassie Rd.
                   Eastchester, NY 10709-5407



                   Cactus Wellhead, LLC
                   One Greenway Plaza, Ste., 200
                   Houston, TX 77046



                   Cadboro Petroleum, LLC
                   1847 Dock St., Ste. 204
                   New Orleans, LA 70123



                   Cadre Pump, Fabrication & Supply
                   Dept. 186-6, P. O. Box 4652
                   Houston, TX 77210-4652




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                   Calvin or Dora Blanchett
                   P. O. Box 524
                   Medina, TN 38355



                   Cambre Geological SVC, Inc.
                   5201 Mitchell Dale, Ste. A-10
                   Houston, TX 77092-7219



                   Carla B. Gaudet
                   2405 Lee Drive
                   Pierre Part, LA 70339



                   Carol A. Coleman
                   10706 Willowisp
                   Houston, TX 77035



                   Carol M. Jackson
                   3936 Percheron Drive
                   Mt. Pleasant, SC 29429



                   Carolyn D. Lombardo
                   1835 Hwy 59
                   Mandeville, LA 70448



                   Carroll & Elise Folse
                   13463 Hwy. 644
                   Vacherie, LA 70090



                   Carroll & Jo Anne Scioneaux
                   4131 Scioneaux Rd.
                   Vacherie, LA 70090



                   Carroll Folse
                   13463 Hwy. 644
                   Vacherie, LA 70090




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                   Cecilia G. Mcauliff
                   1209 Mill Valley Dr.
                   Plano, TX 75075



                   Chaparral Energy, LLC
                   P. O. Box 671550
                   Dallas, TX 75267-1550



                   Charlene Zeringue Gravois
                   13095 Falgoust St.
                   Vacherie, LA 70090



                   Charles Edward Engerran
                   231 Leeward Way
                   Freeport, TX 77541-9496



                   Charles R. Meeker Trust #3084
                   c/o Bank of America, N.A.
                   P. O. Box 840738
                   Dallas, TX 75284-0738



                   Charter Communications Holdings
                   P. O. Box 742614
                   Cincinnati, OH 45274-2614



                   Chase Card Services
                   P. O. Box 94014
                   Palatine, IL 60094-4014



                   Chris Van Way
                   P. O. Box 52584
                   Lafayette, LA 70505



                   Christine Scott Spisak
                   9950 Royal Woods Drive
                   Mobile, AL 36608




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                   Christine Zeringue Carlomagno
                   111 Durham Drive
                   Lafayette, LA 70508



                   Cimarron Minerals Ltd Liab Co.
                   c/o Frost National Bank, Trustee
                   P. O. Box 1600
                   San Antonio, TX 78296-1600



                   City of Thibodeaux
                   Attn: Finance Director
                   P. O. Box 5418
                   Thibodaux, LA 70302



                   CKX Lands, Inc.
                   P. O. Box 1864
                   Lake Charles, LA 70602



                   Claire B. Robert
                   41282 New Orleans Drive
                   Sorrento, LA 70778-3423



                   Claire Leblanc
                   P.O. Box 331
                   Labadieville, LA 70372



                   Claude Barras, Sr.
                   5211 Bayou Black Dr.
                   Gibson, LA 70356-3413



                   Claudette Mistretta
                   P. O. Box 274
                   Saint James, LA 70086



                   Clean Gulf Associates
                   Dept. No. 368
                   P. O. Box 4869
                   Houston, TX 77210-4869



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                   Clifford Francis Poche, Jr.
                   P.O. Box 543
                   Lutcher, LA 70071



                   Club Oil & Gas LTD, LLC
                   66 Inverness Lane East
                   Englewood, CO 80112



                   Cobra Petroleum Company, L.P.
                   P.O. Box 8049
                   Rancho Santa Fe, CA 92067



                   Cockerell Oil Properties, LTD
                   1133 N. 2nd Street
                   Suite 202
                   Abilene, TX 79601



                   Comm Engineering, Inc.
                   P. O. Box 53463
                   Lafayette, LA 70505



                   Commerical Signs
                   1123 St. Charles St.
                   Houma, LA 70360



                   Connie Granier
                   799 Hwy. 307
                   Thibodaux, LA 70301



                   Continental Operating Co.
                   1221 McKinney, Ste. 3700
                   Houston, TX 77010



                   Creole Compression, LLC
                   P. O. Box 448
                   Houma, LA 70361




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                   Crescent Drilling Foreman, Inc.
                   2400 Veterans Memorial Blvd.
                   Ste. 110
                   Kenner, LA 70062



                   Crosby Tugs, LLC
                   P. O. Box 279
                   Golden Meadow, LA 70357



                   Crosstex Gulf Coast Marketing
                   P. O. Box 51820
                   Los Angeles, CA 90051-6120



                   Curocom Energy, LLC
                   10101 Harwin Drive
                   Houston, TX 77036



                   Cynthia Z. Dillenkoffer
                   c/o Julie M. Zeringue
                   111 Durham Dr.
                   Lafayette, LA 70509



                   D & B Boat Rentals, Inc.
                   P. O. Box 483
                   Broussard, LA 70518



                   Dan R. Frantzen
                   15 Heatherstone
                   Lafayette, LA 70508



                   Daniel D. Billingsley
                   3254 E. Rockhampton St.
                   Meridian, ID 83642



                   Darell Valentine
                   2562 Moyers Rd.
                   Richmond, CA 94806




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                   Data Technology Solutions, LC
                   P. O. Box 3742
                   Lafayette, LA 70502



                   David Deas Curry
                   7439 Hampson Street
                   New Orleans, LA 70118



                   David H. Guerra
                   P. O. Box 1025
                   Mission, TX 78572



                   David Michael Poche
                   251 Sheryl Drive
                   Madison, MS 39110



                   David P. Broadbridge
                   208 N. New Hampshire
                   Covington, LA 70433



                   Deborah H. Woods
                   36 Nolen Street
                   Birmingham, AL 35242



                   Dennis D. Guerra
                   c/o Lydia Guerra
                   P. O. Box 157
                   Roma, TX 78584



                   Dennis James Zeringue
                   2350 Lot 1 Choctaw Road
                   Thibodaux, LA 70301



                   Dept. of Environm Quality
                   Office of Air Quality
                   P. O. Box 82135
                   Baton Rouge, LA 70884




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 20 of 69
                   Destin Resources, LLC
                   1800 Carol Sue Ave
                   Suite4
                   Gretna, LA 70056



                   Diamond Tank Rentals, Inc.
                   P. O. Box 2706
                   Morgan City, LA 70381



                   Dishman & Bennett Specialty
                   P. O. Box 287
                   Houma, LA 70361



                   Donald Edwin Deas
                   1025 Eagle Lake Trail
                   Apt 407
                   Port Orange, FL 32129



                   Donald Mioton, III
                   279 Pleasant Ave., Apt. 2N
                   New York, NY 10029



                   Donald Zeringue
                   2439 St. John Place
                   Donaldsonville, LA 70346



                   Donovan & Christine Scioneaux
                   41106 Maurice Bourgeois Rd.
                   Saint Amant, LA 70774



                   Doriene E. Oliver
                   892 El Camino
                   Boulder City, NV 89005



                   Doris Lucille Poirrier
                   P.O. Box 87
                   Vacherie, LA 70090




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                   Doris Rita Deas McReynolds
                   10742 Thistlewood Dr.
                   Baton Rouge, LA 70810-2905



                   Doris Z. Hymel
                   P. O. Box 48
                   Saint James, LA 70086



                   Dorothy Brignac Franco
                   110 Broadmoor Dr
                   Daphne, AL 36652



                   Dorothy Price Neville
                   1100 Tulane Ave., Ste. 326
                   New Orleans, LA 70112-1905



                   E. Hummel Killgore
                   815 River Oaks Drive
                   Covington, LA 70433



                   Eaton Oil Tools, Inc.
                   P. O. Box 1050
                   Broussard, LA 70518



                   Edward Paul Louque
                   12520 Lakeland Drive
                   Walker, LA 70785



                   Elbert J. Day, Jr.
                   1641 S. Montgomery St.
                   Starkville, MS 39759



                   Element Materials Technology
                   Lafayette
                   32532 Collection Center Dr
                   Chicago, IL 60693




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                   Elizabeth Ann Johnston
                   11409 Sugar Lane
                   Baton Rouge, LA 70810



                   Elizabeth Z. Ordeneaux
                   P. O. Box 144
                   Paulina, LA 70763



                   Elize Z. Henderson
                   644 Arlington Ave.
                   Baton Rouge, LA 70806



                   Elomore Louque
                   5054 Elmo Louique Street
                   Convent, LA 70723



                   Elvira Porter Phillips
                   19004 Galway Ave
                   Carson, CA 90746



                   Emerald Coast Energy, LLC
                   1333 Woodmere Drive
                   Mandeville, LA 70471



                   Energy Resource Technology
                   GOM, LLC
                   P. O. Box 51417
                   Los Angeles, CA 90051-5416



                   Entergy
                   P. O. Box 8104
                   Baton Rouge, LA 70891-8104



                   Estate of Eola M. Pierce Aubin
                   c/o Terry Aubin
                   106 Lawrence Blvd.
                   Pineville, LA 71360




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                   Estate of J. Mathis Brown
                   P.O. Box 517
                   Gaffney, SC 29342



                   Ethel Melancon Roussel
                   3624 Ramey Drive
                   Zachary, LA 70791-4560



                   Ethel Z. Oubre
                   35199 Cotton Drive
                   Donaldsonville, LA 70346



                   F A S Environmental SVC., LLC
                   P. O. Box 760
                   Pierre Part, LA 70339



                   Faviola Porter Terry
                   3609 Washington Ave.
                   New Orleans, LA 70125



                   Faye Ordoyne
                   15209 Melrose Dr
                   Prairieville, LA 70769



                   Federal Express Corp.
                   P. O. Box 660481
                   Dallas, TX 75266-0481



                   Federal Royalty Properties, LLC
                   2001 Kirby Dr., Ste. 1200
                   Houston, TX 77019



                   Felton M. Johnston, Jr.
                   4506 Tourney Rd.
                   Bethesda, MD 20816




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                   FFO Lakeside, LLC
                   Attn: Kevin Frischhertz
                   4240 Toulouse St.
                   New Orleans, LA 70119



                   FFO, LLC
                   4240 Toulouse St.
                   New Orleans, LA 70119



                   Fielding L. Cocke
                   919 Milam, Ste. 1910
                   Houston, TX 77002



                   Fleet Operators, Inc.
                   P. O. Box 350
                   Morgan City, LA 70380



                   Fort Apache Drilling, LP
                   161 Ranch Drive
                   Boerne, TX 78015



                   Frances Lacy Patterson
                   650A Highland Colony Prkwy
                   Apt. 206 - Beau Ridge
                   Ridgeland, MS 39157



                   Frances R. Becnel
                   P. O. Box 125
                   Belle Rose, LA 70341



                   Francine M. Slimmer
                   5725 La. Hwy. 44
                   Convent, LA 70723



                   Francis Torque Service
                   7 Dufresne Loop
                   Luling, LA 70070




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                   Frank A. Barras
                   225 Azelia
                   Westwego, LA 70094



                   Frank David Beaullieu, IV
                   111 Leisure Lane
                   Lafayette, LA 70506



                   Frank J. Hosford, III
                   1100 Tulane Ave., Ste. 326
                   New Orleans, LA 70112-1905



                   Franks International
                   10260 Westheimer, Ste. 600
                   Houston, TX 77042



                   Fred A. Bidwell
                   627 S. 120 W
                   Hurricane, UT 84737



                   Fringe Benefit Administrators
                   110 Veterans Blvd., Ste. 120
                   Metairie, LA 70005



                   Furcy J. Zeringue, II
                   1540 Persimmion Ave
                   Metairie, LA 70001



                   Future Promises, LLC
                   701 Brown Thrasher Loop N.
                   Madisonville, LA 70447



                   G. Miles Biggs, Jr.
                   74360 River Road
                   Covington, LA 70433




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 26 of 69
                   Gary Lynn Day
                   4874 MS Hwy 182
                   Starkville, MS 39759



                   Gary Valentine
                   1616 Foy St.
                   New Orleans, LA 70122



                   Gaynell Melanson
                   4513 14th Street
                   Marrero, LA 70072



                   Gene M. Zeringue
                   P.O. Box 26
                   Saint James, LA 70086



                   George Sherman
                   100 Russell St.
                   Starkville, MS 39759



                   Gerald J. Torres
                   22936 North Rosary St.
                   Vacherie, LA 70090



                   Gerald Melancon
                   P. O. Box 277
                   La Place, LA 70068



                   Gilmore Petroleum Co., LLC
                   79 S. Wren St.
                   New Orleans, LA 70124



                   Glen Zeringue
                   P.O. Box 56
                   Saint James, LA 70086




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 27 of 69
                   Glenn Blanchett
                   1601 C.R. 309
                   Poplar Bluff, MO 63901



                   Goodrich Land & Energy, LLC
                   1001 Fannin St., Ste. 4670
                   Houston, TX 77002



                   Grace Louque Roussel
                   5026 Elmo Louque St.
                   Convent, LA 70723



                   Gracie Arcement
                   4048 Tall Timbers Dr
                   New Orleans, LA 70130



                   Gracie Arcement
                   520 Huey P Long Ave
                   Gretna, LA 70053



                   Grangnard Brothers, Inc.
                   P. O. Box 186
                   Saint James, LA 70086



                   Gregory P. Zeringue
                   5655 LA Hwy 18
                   Saint James, LA 70086



                   Gulf Crane Services, Inc.
                   P. O. Box 1843
                   Covington, LA 70434-1843



                   Gulf Wells, Inc.
                   P. O. Box 549
                   Belle Chasse, LA 70037




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                   Gwendolyn Zeriungue Beloat
                   1403 W. Broadway Ave., #117
                   Apache Junction, AZ 85120



                   H. P. Guerra, III
                   200 Cenzio
                   Rio Grande City, TX 78582



                   Halliburton Energy Services
                   P. O. Box 301341
                   Dallas, TX 75303-1341



                   Harbridge Petroleum Corp.
                   c/o John Harlan
                   353 Christwood Lane
                   Covington, LA 70433



                   Harry C. Victery, Jr.
                   P. O. Box 27499
                   Houston, TX 77027



                   Harvest Pipeline Company
                   P. O. Box 61529
                   Houston, TX 77208-1529



                   Hector F. Guerra
                   Starr Route, Box 68
                   Rio Grande City, TX 78582



                   Helen McDermott Moore
                   33 Cromwell Pkwy
                   Summit, NJ 07901-1727



                   Henry Zeringue
                   7159 Tip Top Street
                   Saint James, LA 70086




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                   Hercules Offshore Corp.
                   P. O. Box 4346, Dept. 325
                   Houston, TX 77210-4346



                   Heron A. Guerra
                   c/o Lydia Guerra
                   P. O. Box 157
                   Roma, TX 78584



                   HGFLT, LLC
                   1001 Fannin St., Ste. 4670
                   Houston, TX 77002



                   Hilcorp Energy Company
                   1111 Travis St.
                   Houston, TX 77002



                   Hole Opener Corporation
                   P. O. Box 82006
                   Lafayette, LA 70598-2006



                   Home Protection Systems, Inc.
                   P. O. Box 6933
                   New Orleans, LA 70174



                   Hornet Services Company, LLC
                   1810 Airport Rd.
                   Jennings, LA 70546



                   Howard & Stephanie Stanley
                   15 Green Briar Drive
                   Covington, LA 70433



                   Howard Stanley
                   15 Green Briar Drive
                   Covington, LA 70433




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                   HPG Oil Interests, LLC
                   2306 Persa
                   Houston, TX 77019



                   Hubert Savoy Trucking, LLC
                   910 W. Branche St.
                   Rayne, LA 70578



                   Hy-Bon Engineering, Inc.
                   2404 Commerce Drive
                   Midland, TX 79704



                   Imagine Technology, Inc.
                   824 Hickory St.
                   Gretna, LA 70056



                   Integrity Supply, LLC
                   2704 North Drive
                   Abbeville, LA 70510



                   Internal Revenue Service
                   P. O. Box 7346
                   Philadelphia, PA 19101-7346



                   Intracoastal Liquid Mud, Inc.
                   P. O. Box 51784
                   Lafayette, LA 70505



                   IPFS Corporation
                   P. O. Box 730223
                   Dallas, TX 75373-0223



                   Irongate Energy Services
                   1950 State Hwy. 249, Ste. 600
                   Houston, TX 77070




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                   Irvy E. Cosse, Jr.
                   1130 St. Charles Ave
                   New Orleans, LA 70130



                   Island Operating Co., Inc.
                   P. O. Box 27783
                   Houston, TX 77227-7783



                   J. Connor Consulting, Inc.
                   19219 Katy Freeway, Ste. 200
                   Houston, TX 77094



                   J. Edgard Melancon
                   P. O. Box 370
                   Paulina, LA 70763



                   J. J. Meeker
                   P. O. Box 6126
                   Alameda, CA 94501



                   James David Pierce
                   378 N. 3rd Ave
                   Apt #2
                   Des Plaines, IL 60016



                   James W. Ivy
                   893 El Camino Way
                   Boulder City, NV 89005



                   Jane E. Deas
                   14 Maryland Drive
                   New Orleans, LA 70124



                   Jane P. Curry
                   7820 Millicent Way #704
                   Shreveport, LA 71105




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 32 of 69
                   Janet B. Brown
                   18116 Hwy 10 East
                   Clinton, LA 70722



                   Janet B. Maumus
                   4623 Arts Street
                   New Orleans, LA 70122



                   Janet D. Legrand
                   1106 Woodcastle Drive
                   Corsicana, TX 75110



                   Janet W. Zeringue
                   206 Monsanto Street
                   Luling, LA 70070



                   Janice Poche Quirk
                   235 Donalson Drive
                   Munroe Falls, OH 44262



                   Janis D. Belanger
                   4034 Idaho Ave.
                   Kenner, LA 70065



                   Jason J. Zeringue
                   109 Cypress Drive
                   Des Allemands, LA 70030



                   JC Guerra, TRTE FLBO James Jeff
                   C/O I. Trevino-1st State Bank
                   P.O. Box 550
                   Mission, TX 78572



                   Jed C, LLC
                   1 Greenbriar Drive
                   Covington, LA 70433




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                   Jeff Davis Electric Cooperative
                   815 Hwy. 384
                   Bell City, LA 70630



                   Jeff Davis Water Commission #1
                   P. O. Box 515
                   Lake Arthur, LA 70549



                   Jeffery H. Cromwell
                   P.O. Box 1332
                   Camden, AL 36726



                   Jeffery I. Leblanc
                   4 Lookout Pointe
                   Spanish Fort, AL 36577



                   Jerry J. Folse
                   40097 Pelican Roost
                   Gonzales, LA 70737



                   JKDF, LLC
                   Attn: Kevin Kramer
                   506 Water Street, Suite B
                   Madisonville, LA 70447



                   Jo Ann Musco Scioneaux
                   698 Hwy. 307
                   Thibodaux, LA 70301



                   Jo Ann Musco Scioneaux, USFRUC
                   698 Hwy. 307 Lot #1
                   Thibodaux, LA 70301



                   Joanne T. Zeringue, Nat Tutrix
                   Of The Minor Angelle Zeringue
                   P.O. Box 155
                   Saint James, LA 70086




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                   Joe C. Guerra
                   P. O. Box 186
                   Roma, TX 78584



                   John Deas
                   153 Brook Street
                   Garden City, NY 11530



                   John Folse
                   2517 S. Philippe Ave.
                   Gonzales, LA 70737



                   John Fryare Guerra
                   3016 Deakin St.
                   Berkley, CA 94700



                   John M. Duhon
                   200 Travis, Ste. 201
                   Lafayette, LA 70503



                   John V. Price
                   P.O. Box 3399
                   Covington, LA 70434



                   John Z. Zeringue
                   114 Lorraine Dr.
                   Des Allemands, LA 70030



                   Jones Oilfield Service & Supply
                   6140 Hwy. 90 E
                   Lake Charles, LA 70615



                   Joseph Valentine
                   918 S. Sibley
                   Metairie, LA 70003




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 35 of 69
                   Joshua F. Blount
                   3317 Beech Drive
                   Gretna, LA 70056



                   Judd Partners
                   c/o Travis Property Management
                   P. O. Box 56429
                   Houston, TX 77256-6429



                   Judith J. Jones
                   P. O. Box 2621
                   Cashiers, NC 28717



                   Judith Steib Folse
                   21030 Hwy. 20
                   Vacherie, LA 70090



                   Judith Torres Dellatte
                   23068 Oak St.
                   Vacherie, LA 70090



                   Judy B. Hurry
                   175 Iber
                   La Place, LA 70069



                   Jules D. Morales
                   4840 Hwy. 22, Apt. 621
                   Mandeville, LA 70471



                   Julie Allee
                   42125 Bayou Segnette Ave.
                   Gonzales, LA 70737



                   Julie M. Zeringue
                   111 Durham Drive
                   Lafayette, LA 70508




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                   Julie Marie Becnel Chenier
                   P.O. Box 4
                   Saint James, LA 70086



                   Justin Joseph Poche
                   5044 Elmo Louque Street
                   Convent, LA 70723



                   Karen V. Weber
                   145 Deacon St.
                   Avondale, LA 70094



                   Karolyn Zeringue Bull
                   1470 Charmaine Street
                   Baton Rouge, LA 70806



                   Katherine Ely Martin
                   21511 Perry Cove
                   Lago Vista, TX 78645



                   Kathleen Bright Dufrene
                   50 Mason St.
                   Gretna, LA 70053



                   Katie M. Guerra
                   c/o W. T. Guerra
                   P. O. Box 906
                   Roma, TX 78584



                   Katthy Louque Bourgeois
                   110 Middleton Drive
                   Peachtree City, GA 30269



                   KDM Investments, LLC
                   343 Elmeer Ave.
                   Metairie, LA 70005




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                   Kean Miller
                   Attn: Victor J. Suane, Jr.
                   P. O. Box 3513
                   Baton Rouge, LA 70821



                   Keith Valentine
                   145 Deacon St.
                   Westwego, LA 70094



                   Kendrick J. Morales
                   380 Beau Rivage Drive
                   Mandeville, LA 70471-2963



                   Kentwood Springs
                   P. O. Box 660579
                   Dallas, TX 75266-0579



                   Kinetica Energy Express, LLC
                   1001 McKinney Street, Ste. 900
                   Houston, TX 77002



                   La Luna Production Company
                   2218 Long Cove Circle
                   Houston, TX 77450-8680



                   La. Dept. of Environ Quality
                   Financial Services Division
                   Baton Rouge, LA 70821-4311



                   La. Dept. of Natural Resources
                   Fisherman's Gear Compensation
                   P. O. Box 44277
                   Baton Rouge, LA 70804-4277



                   La. Dept. of Revenue
                   P. O. Box 91017
                   Baton Rouge, LA 70821-9017




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                   La. Dept. of Revenue
                   P. O. Box 201
                   Baton Rouge, LA 70821-0201



                   Lacassine Oilfield Services
                   P. O. Box 102
                   Lacassine, LA 70650-0120



                   Lafayette Geological Research
                   201 Heymann Blvd., Ste. 33
                   Lafayette, LA 70503



                   Lauren Glencora Boudreaux
                   5511 N. Allegheny Court
                   Baton Rouge, LA 70817



                   Laurent J. Zeringue
                   5225 Wabash Street
                   Metairie, LA 70001



                   Lawrence J. Folse
                   23123 La 20 West
                   Vacherie, LA 70090



                   Lawrence Michael Lambert
                   26260 Hwy 441
                   Holden, LA 70744



                   Lawrence Valentine
                   144 Dexter Drive
                   Westwego, LA 70094



                   Lettie Deas Counce
                   13535 Greenview Ave
                   Baton Rouge, LA 70816




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                   Lewis J. Oubre, Jr.
                   5032 Rye Street
                   Metairie, LA 70006



                   Lexco Data Systems, L.P.
                   P. O. Box 692372
                   Houston, TX 77269



                   Libby Panepinto
                   3813 Lake Des Allemands
                   Harvey, LA 70058



                   Lillia Z. Young
                   111 Durham Drive
                   Lafayette, LA 70508



                   Lillian Z. Ledet
                   1213 N. Airline
                   Gramercy, LA 70052



                   Linda Dormay Williams
                   1509 Hall Ave
                   Metairie, LA 70003



                   Linda Price Ellzey
                   1100 Tulane Ave., Ste. 326
                   New Orleans, LA 70112-1905



                   Linder Energy Company
                   1800 Carol Sue Ave
                   Suite 4
                   Gretna, LA 70056



                   Locke Lord, LP
                   601 Poydras, Ste. 2660
                   New Orleans, LA 70130




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                   Lonnie J. Barras
                   2240 Gaudet St.
                   Paulina, LA 70763



                   Loretta L. Zeringue
                   400 Mansfield Drive
                   Slidell, LA 70458



                   Loretta Z. Jeandron
                   120 E. Randall Court
                   Gretna, LA 70053



                   Lorraine Barras Bergeron
                   807 Colonial Dr.
                   Port Allen, LA 70767



                   Louisiana Contract Services
                   187 Ravensaide
                   Houma, LA 70360



                   Louisiana General
                   Oil Company
                   106 Parkplace, Ste. 200
                   Covington, LA 70433



                   Louisiana General Oil Company
                   74360 River Road
                   Covington, LA 70433



                   Louisiana Workers
                   Compensatio Corp.
                   P. O. Box 919142
                   Dallas, TX 75391-9142



                   Lucille Deas
                   3209 Metairie Court
                   Metairie, LA 70002




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                   Luis A. Guerra
                   c/o Lydia Guerra
                   P. O. Box 157
                   Roma, TX 78584



                   Lynn A. Moore
                   4233 Everglades Ave
                   Port Arthur, TX 77642



                   Lynn J. Becnel
                   P. O. Box 227
                   Donaldsonville, LA 70346



                   Lynx Production Services, Inc.
                   808 Prevost Dr.
                   Houma, LA 70364



                   M21K, LLC
                   1021 Main, Ste. 2626
                   Houston, TX 77002



                   Mabel Z. Oubre
                   22878 High Ridge Drive
                   Vacherie, LA 70090



                   Mac-Nett Environmental Services
                   2977 Monterry Dr.
                   Baton Rouge, LA 70814



                   Madeline Zeringue Hartmann
                   524 Austis St.
                   Greensburg, PA 15601



                   Magnolia 23 Properties, LLC
                   1502 Augusta, Ste. 250
                   Houston, TX 77057




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                   Magnolia Torque & Testing
                   P. O. Box 206
                   Scott, LA 70583-0206



                   Major Equipment & Remediation
                   Services, Inc.
                   P. O. Box 3616
                   Morgan City, LA 70381



                   Marc L. Frischhertz
                   131 Conrad St.
                   New Orleans, LA 70124



                   Marcelle's Place, LLC
                   Attn: Marc Frischhertz
                   131 Conrad St.
                   New Orleans, LA 70124



                   Marcum LLP
                   750 Third Ave., 11th Floor
                   New York, NY 10017



                   Margaret B. Landry
                   300 Washington Ave
                   Thibodaux, LA 70301



                   Margarita L. Guerra Salinas
                   P. O. Box 274
                   Roma, TX 78584



                   Marie Cecile Zeringue
                   P.O. Box 287
                   Saint James, LA 70086



                   Marie Scioneaux
                   8131 Big Boy St.
                   Saint James, LA 70086




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                   Marie Theresa Poche Ballew
                   1128 Santa Ynez Ave.
                   Henderson, NV 89015



                   Marjorie Carol Deas
                   2329 Ormond Blvd.
                   Destrehan, LA 70047



                   Marlene B. Parton
                   301 S. Inscore Street
                   Rector, AR 72461



                   Marlene Barras Stein
                   449 Modern Farms, Rd.
                   Waggamen, LA 70094



                   Martha Harlan
                   353 Christwood Lane
                   Covington, LA 70433



                   Martin Despot
                   P. O. Box 52944
                   Lafayette, LA 70505



                   Mary Agnes Folse Becnel
                   P. O. Box 248
                   Vacherie, LA 70090



                   Mary Agnes Folse Becnel, USUFR
                   P. O. Box 248
                   Vacherie, LA 70090



                   Mary Ann B. Hurban
                   1584 Debattista Place
                   New Orleans, LA 70131




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                   Mary Ann Melancon Cummings
                   P.O. Box 159
                   Convent, LA 70723



                   Mary Anne Schexnayder
                   105 Rice Drive
                   Bear, DE 19701



                   Mary Beth Cuthbert
                   1084 August Drive
                   Oxford, MS 38655



                   Mary Deas Demarest
                   5423 Courtyard Drive
                   Gonzales, LA 70737-8551



                   Mary Evelyn Feazel
                   966 Waif Woods Cove
                   Cordova, TN 38018



                   Mary Lee Allee Allen
                   108 N. Village Drive
                   Gardendale, AL 35071



                   Mary Morales Dowd
                   501 Hesper Ave.
                   Metairie, LA 70005



                   Mary P. Zeringue
                   2900 Westchester Place
                   New Orleans, LA 70131



                   Mary P. Zeringue
                   P. O. Box 13
                   Saint James, LA 70086




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                   MassMutual Retirement Svcs
                   P. O. Box 1583
                   Hartford, CT 06144-1583



                   Matthew J. Zeringue
                   5655 LA Hwy 18
                   Saint James, LA 70086



                   Maurie Ankenman Cannon
                   3838 Olympia Drive
                   Houston, TX 77019



                   May G. Price Estate
                   C/O John V. Price, Executor
                   P.O. Box 3399
                   Covington, LA 70434



                   Meeker & Company, Inc.
                   P. O. Box 470155
                   Fort Worth, TX 76147



                   Melissa Poche Cambre
                   P.O. Box 720
                   Paulina, LA 70763



                   Melowae Mcknight
                   103 Down The Bayou Road
                   Des Allemands, LA 70030



                   Meridian Resources & Expl, LLC
                   1401 Enclave Pkwy, Ste. 300
                   Houston, TX 77077-2054



                   Michael D. Stanfield
                   213 Cotton Bayou Lane
                   Kenner, LA 70065




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                   Michael J. Torres
                   600 Cypress St.
                   Thibodaux, LA 70301



                   Michael N. Harlan
                   7 Wax Myrtle Lane
                   Covington, LA 70433



                   Michelle Lambert Daron
                   13645 Shelborne Road
                   Westfield, IN 46074



                   Michip, Inc.
                   1515 Poydras St., Ste. 1825
                   New Orleans, LA 70130



                   Mirror Lake Exploration, LLC
                   Attn: Russ Andress
                   106 Knipp Rd.
                   Houston, TX 77024



                   Missouri Pacific Railroad Co.
                   P. O. Box 730875
                   Dallas, TX 75373-0875



                   Modular Space Corporation
                   12603 Collections Center Drive
                   Chicago, IL 60693-0126



                   Molly Ann Poche Magee
                   15320 Tchefuncte Drive
                   Covington, LA 70433



                   Moncla E-Line Services, Inc.
                   635 Rue Scholastique
                   Scott, LA 70583




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                   Moncla Workover & Drilling Opera
                   P. O. Box 53408
                   Lafayette, LA 70505



                   Morris P. Hebert, Inc.
                   P. O. Box 3106
                   Houma, LA 70360



                   N. Manale Test Trst f/b/a
                   C H Demspey, M Manale Trustee
                   4925 Dryades St.
                   New Orleans, LA 70115



                   NECO Trucking, Inc.
                   P. O. Box 279
                   Maurice, LA 70555



                   Neff Oil & Gas, LTD
                   100 Independence Place, Ste. 307
                   Tyler, TX 75703



                   Nell O & G Management, LLC
                   100 Independence Place, Ste. 307
                   Tyler, TX 75703



                   Nelson A. Zeringue, Jr.
                   P.O. Box 985
                   Shreveport, LA 71163



                   Newcastle Energy, Inc.
                   753 N. Beau Chene Drive
                   Mandeville, LA 70471



                   Newfield Exploration Co.
                   363 N. Sam Houston Pkwy, Ste 100
                   Houston, TX 77060




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 48 of 69
                   Nicholas Manale Test Trst f/b/o
                   G. Dempsey, M Manale Trustee
                   4925 Dryades Street
                   New Orleans, LA 70115



                   Noble Royalties, Inc.
                   d/b/a Brown Drake Royalties
                   P. O. Box 660082
                   Dallas, TX 75266-0082



                   Norman P. Zeringue
                   P.O. Box 464
                   Gramercy, LA 70052



                   Northlake Production, LLC
                   646 Adair St.
                   Mandeville, LA 70448



                   O'Brien's Response Mgmt, LLC
                   Dept. 3599
                   P. O. Box 123599
                   Dallas, TX 75312-3599



                   Office Depot Business Credit
                   Dept. 56-1326580003
                   P. O. Box 78004
                   Phoenix, AZ 85062-8004



                   Office of Mineral Resources
                   State of Louisiana
                   P. O. Drawer 2827
                   Baton Rouge, LA 70821-2827



                   Offshore Liftboats, LLC
                   P. O. Box 398
                   Cut Off, LA 70345




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 49 of 69
                   Offshore Specialty Fabricators
                   P. O. Box 1420
                   Houma, LA 70360



                   Oil & Gas Information Systems
                   5801 Edward Ranch Rd., Ste. 200
                   Fort Worth, TX 76109



                   Oilfield Professional Contractor
                   P. O. Box 448
                   Houma, LA 70361



                   Olimpia J. Constanza
                   5145 Mt. Shasta Lane
                   Marrero, LA 70072



                   Oliver Winchester, Sr.
                   6335 Hwy 18
                   Saint James, LA 70086



                   Oliver Winchester, Sr. USFRCT
                   6335 Hwy 18
                   Saint James, LA 70086



                   Olivia V. Thomas
                   1007 N. Starret Rd.
                   Metairie, LA 70003



                   Ona Investments, LLC
                   4820 Richland Ave.
                   Metairie, LA 70002



                   Ora Lee Beebe
                   8113 Barocco Drive
                   New Orleans, LA 70123




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 50 of 69
                   Ottinger Hebert, LLC
                   P. O. Drawer 52606
                   Lafayette, LA 70505-2606



                   Paloma Energy Consultants, LP
                   8203 Willow Place South
                   Ste. 390
                   Houston, TX 77070



                   Parkviw Land Company, LLC
                   20682 Hwy 3125
                   Paulina, LA 70763



                   Patricia Swims, LLC
                   1457 Eastridge Drive
                   Slidell, LA 70458



                   Patricia V. Ferguson Trust
                   Walerk KL Ferguson, Trustee
                   P. O. Box 5303
                   Austin, TX 78763



                   Patrick C. Deas, Sr.
                   3625 45th St.
                   Metairie, LA 70001



                   Patrick Charles Lambert
                   14310 Henry Savoy Road
                   Saint Amant, LA 70774



                   Patrick J. Zeringue
                   P.O. Box 155
                   Saint James, LA 70086



                   Paul Lyons
                   1333 Woodmere Drive
                   Mandeville, LA 70471




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 51 of 69
                   Pearl H. Stripling
                   P. O. Box 301
                   Fosters, AL 35463-0301



                   PEC Premier Safety Operations
                   233 General Patton Ave.
                   Mandeville, LA 70433



                   Peggy Trudeau
                   2201 Lyndell Dr.
                   Chalmette, LA 70043



                   Perkinson Energy Part JV93-1
                   P.O. Box 682945
                   Franklin, TN 37064



                   Petronyx, LLC
                   3501 N. Causeway Blvd., Ste. 210
                   Metairie, LA 70002



                   Pharos Marine Automatic Power
                   P. O. Box 4346, Dept. 253
                   Houston, TX 77210-4346



                   Philip J. Zeringue
                   1004 35th Street
                   Gretna, LA 70053



                   Phyllis Poirrier Bodin
                   P. O. Box 87
                   Vacherie, LA 70090



                   Pitney Bowes Global Financial
                   P. O. Box 371887
                   Pittsburgh, PA 15250-7887




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 52 of 69
                   Pitney Bowes Purchase Power
                   P. O. Box 371874
                   Pittsburgh, PA 15250-7874



                   Pro-T Company, Inc.
                   P. O. Box 295
                   Broussard, LA 70518-0295



                   Providian Resources, LLC
                   P.O. Box 35984
                   Tulsa, OK 74153



                   PS Moore Mineral Partnership
                   6575 W. Loop S, Ste. 450
                   Bellaire, TX 77401



                   PTX Controls, LLC
                   P. O. Box 6288
                   Metairie, LA 70009-6288



                   Pumpjack Eight, L.P.
                   C/O Mandel Resources Corp.,INC
                   P.O> Box 449
                   Delray Beach, FL 33447-0449



                   Quality Energy Services, Inc.
                   P. O. Box 3190
                   Houma, LA 70361



                   R.P.S. Cementing Co., LLC
                   P. O. Box 176
                   Livonia, LA 70755



                   R360 Environmental Solutions
                   P. O. Box 1467
                   Jennings, LA 70546




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 53 of 69
                   RACD Oil, LLC
                   Attn: Anne Dardis
                   1405 Pier Ave.
                   Metairie, LA 70005



                   Randall S. Zeringue
                   103 Cane Street
                   Thibodaux, LA 70301



                   Randy P. Barras
                   15353 Beau Bois Dr.
                   Zachary, LA 70791



                   Raymond P. Zeringue, Jr.
                   P.O. Box 145
                   Saint James, LA 70086



                   Reelengine, LLC
                   131 Ayshire Court
                   Slidell, LA 70461



                   Reginald J. Zeringue
                   1109 Colony Road
                   Metairie, LA 70003



                   Regions Bank
                   Attn: Keith Mitchell
                   2000 Gateway St.
                   Grenada, MS 38901



                   Reliable Production SVC, Inc.
                   1090 Cinclaire Dr
                   Port Allen, LA 70767-3235



                   Rene S. Broussard, Jr.
                   386 Croydon Ave.
                   Baton Rouge, LA 70806




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 54 of 69
                   Reserves Management, L.C.
                   1800 Carol Sue Ave
                   Suite 4
                   Gretna, LA 70056



                   Resource Trans of America
                   P. O. Box 1229
                   Cameron, LA 70631



                   Richard F. Price, Jr.
                   1100 Tulane Ave
                   Suite 326
                   New Orleans, LA 70112



                   Richard F. Price Estate
                   C/O John V. Price, Executor
                   Covington, LA 70434



                   Richard H. Gilmore
                   106 Park Place, Ste. 200
                   Covington, LA 70433



                   Richard L. Guerra
                   312 South 4th
                   McAllen, TX 78502



                   Richard P. Oubre
                   8640 Fruitwood Court
                   Fair Oaks, CA 95628



                   Rig-Chem, Inc.
                   Station 1, Box 10203
                   Houma, LA 70363-5990



                   Rita Mae Z. Faulkner
                   264 Cardinal Dr.
                   Slidell, LA 70458




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 55 of 69
                   River Rental Tools, Inc.
                   109 Derrick Rd.
                   Belle Chasse, LA 70037



                   Robert Anthony Zeringue, Sr.
                   73128 Louisiana Ave
                   Covington, LA 70433



                   Robert J. Zeringue
                   2714 Hwy 20 West
                   Vacherie, LA 70090



                   Robert L. Hall
                   203 Rue Mon Jardin
                   Madisonville, LA 70447



                   Robert Leblanc
                   P.O. Box 52765
                   Lafayette, LA 70505



                   Robert P. Hosford
                   1100 Tulane Ave., Ste. 326
                   New Orleans, LA 70112-1905



                   Robert Ruben Guerra, Jr.
                   c/o W. T. Guerra
                   Roma, TX 78584



                   Roberta Linder
                   701 Brown Thrasher Loop N
                   Madisonville, LA 70447



                   Roger D. Linder
                   Real Estate Account
                   1500 Dendinger Dr.
                   Covington, LA 70433




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 56 of 69
                   Roger D. Linder
                   106 Park Place, Ste. 200
                   Covington, LA 70433



                   Roger Linder
                   106 Park Place, Ste. 200
                   Covington, LA 70433



                   Roger Valentine
                   3005 Old Covington
                   Hammond, LA 70404



                   Roland A. Zeringue
                   196 Jolie Oaks Blvd
                   Thibodaux, LA 70301



                   Ronald J. & Hazel Scioneaux
                   22875 N. Oak St.
                   Vacherie, LA 70090



                   Ronald Joseph Steib
                   2348 North Bank Lane
                   Vacherie, LA 70090



                   Rosalind Kliebert Trosclaire
                   P. O. Box 2315
                   Reserve, LA 70084



                   Rosalinda G. Guerra, Trustee
                   V. H. Guerra Jr. Trust
                   P. O. Box 157
                   Roma, TX 78584



                   Rosemary Anne Oil, LLC
                   1405 Pier Ave
                   Metairie, LA 70005




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 57 of 69
                   Roy Zeringue
                   13391 Ash Street
                   Vacherie, LA 70090



                   Royley & Theresa Folse
                   P. O. Box 52
                   Saint James, LA 70086



                   Royley A. Folse, Jr.
                   P. O. Box 52
                   Saint James, LA 70086



                   Rudy Sparks
                   122 Riverbend Dr.
                   Patterson, LA 70392



                   Russell A. Becnel
                   P. O. Box 227
                   Donaldsonville, LA 70346



                   Ruth Folse Hirsch
                   15405 Ryan Ave.
                   Prairieville, LA 70769



                   S & S Operating Co., Inc.
                   P. O. Box 1250
                   Winnie, TX 77556



                   Salt Dome Partnership
                   P. O. Box 7
                   Patterson, LA 70392



                   Sandra J. Jones
                   756 Cumberland Cove
                   Southaven, MS 38671




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 58 of 69
                   Sandra K. Weathers
                   P.O. Box 2233
                   Columbus, MS 39704



                   Scott W. Spradley
                   753 N. Beau Chene Dr.
                   Mandeville, LA 70448



                   Select Oilfield Services, LLC
                   P. O. Box 728
                   Belle Chasse, LA 70037



                   Sempcheck Services
                   NDTRAK Technologies
                   P. O. Box 273274
                   Houston, TX 77277-3274



                   Settoon Construction, Inc.
                   P. O. Box 520
                   Metairie, LA 70033-9000



                   Settoon Dock Service
                   P. O. Box 760
                   Pierre Part, LA 70339



                   Shannon C. Leonard
                   1018 Sunset Canyon Drive North
                   Dripping Springs, TX 78620



                   Sharon F. King
                   953 Wild West Drive
                   Henderson, NV 89002



                   Shirley Deas Zibilich
                   4840 Hwy 22
                   Apt #9202
                   Mandeville, LA 70471




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 59 of 69
                   Shirley W. Zeringue, USUFRUCT
                   3922 Wooland Hill Court
                   Baton Rouge, LA 70816



                   Shirley Z. Hymel
                   8879 False River Rd
                   New Roads, LA 70760



                   Sidney J. Torres
                   2941 Highway 308
                   Raceland, LA 70394



                   Southern Solid Waste
                   6036 Farm Rd.
                   Iowa, LA 70647



                   Southwest Petroleum Co., LP
                   P. O. Box 702377
                   Dallas, TX 75370-2377



                   Spartan Energy Services, LLC
                   Attn: Dave Edelmaier
                   9595 Six Pines Drive, Ste. 4000
                   Spring, TX 77380



                   Spectra Energy
                   P. O. Box 201210
                   Houston, TX 77216-1210



                   SPL, Incorporated
                   P. O. Box 842013
                   Dallas, TX 75284-2013



                   Stabil Drill
                   P. O. Box 81548
                   Lafayette, LA 70598




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 60 of 69
                   Stacy Guy Allee
                   P. O. Box 255
                   Saint James, LA 70086



                   Stancil Property Tax, LLC
                   400 E. Las Colinas Blvd.
                   Irving, TX 75039



                   State of Louisiana
                   Office of Conservation
                   P. O. Box 51285 OCS
                   Lafayette, LA 70505



                   Stephanie Morales
                   660-5 Tete Lours Drive
                   Mandeville, LA 70471



                   Stephen O. Straub
                   944 Austin Hwy.
                   San Antonio, TX 78209



                   Stewart F. Peck
                   601 Poydras St., Ste. 2775
                   New Orleans, LA 70130



                   Stokes & Spiehler Offshore
                   P. O. Box 52006
                   Lafayette, LA 70505



                   Stone Energy Corporation
                   P. O. Box 52807
                   Lafayette, LA 70508-2807



                   Stratford Exploration, LLC
                   P. O. Box 404
                   Milton, LA 70558




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 61 of 69
                   Superior Energy Services, LLC
                   Dept. 2203
                   P. O. Box 122203
                   Dallas, TX 75312-2203



                   Superior Performance, Inc.
                   P. O. Box 1080
                   Broussard, LA 70518



                   Susan Ann Becnel Waguespack
                   38484 Cal Rd.
                   Gonzales, LA 70737



                   T & P Well Testers of Lafayette
                   P. O. Box 80456
                   Lafayette, LA 70598



                   Tamara Jenkins
                   919 Milam, Ste. 1910
                   Houston, TX 77002



                   Tanner Services, LLC
                   P. O. Box 940968
                   Houston, TX 77094-7968



                   Targa Midstream Services, LLC
                   P. O. Box 73689
                   Chicago, IL 60673-3689



                   Tarpon Rental, Inc.
                   P. O. Box 9023
                   Houma, LA 70361



                   Tasha Beth Blount Sheets
                   3317 Beech Drive
                   Gretna, LA 70056




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 62 of 69
                   Texas Eastern Transmission, LP
                   P. O. Box 201210
                   Houston, TX 77216



                   The Gardens of Lafayette
                   c/o Ronnie White Custom Homes
                   1003 E. Hugh Wallis Rd., Ste G-3
                   Lafayette, LA 70508



                   The Lofton Corporation
                   dba Lofton Staffing Services
                   P. O. Box 52101
                   Lafayette, LA 70505-2101



                   The Louisiana Land & Explorat
                   C/O Conoco Phillips
                   600 N. Dairy Ashford W. Lake 3
                   Houston, TX 77079



                   The Society of the Propagatiion
                   of the Faith
                   7887 Walmksley Ave.
                   New Orleans, LA 70125



                   Therese B. Kiff
                   5005 Warwick Drive
                   Marrero, LA 70072



                   Thomas & Agnes Kliebert
                   P. O. Drawer 130
                   Paulina, LA 70763



                   Thomas Tools
                   1200 Enclave Parkway
                   Houston, TX 77077



                   Three Z Investment, LLC
                   8726 Antioch Rd.
                   Baton Rouge, LA 70817


17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 63 of 69
                   Thru-Tubing Systems
                   4102 Hwy. 90 West
                   New Iberia, LA 70560



                   Tiger Offshore Rentals
                   P. O. Box 733252
                   Dallas, TX 75373



                   Timothy G. Morales
                   280 Lotus Drive
                   Mandeville, LA 70471



                   Timothy Zeringue
                   P.O. Box 155
                   Saint James, LA 70086



                   Traco Production SVC, Inc.
                   P. O. Box 3307
                   Lafayette, LA 70502



                   Transvac, LLC
                   6619 Rice Cove Rd.
                   Abbeville, LA 70511



                   Treasure Bay Corporation LTD
                   Attn: Harvey R. Guthrye, CPL
                   P. O. Box 53844
                   Lafayette, LA 70505-3844



                   Trussco, Inc.
                   P. O. Box 3761
                   Lafayette, LA 70520



                   United Vision Logistics
                   P. O. Box 975357
                   Dallas, TX 75397-5357




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 64 of 69
                   Venable Royalty, Ltd
                   P. O. Box 171
                   Tyler, TX 75710



                   Venture Partners, LTD
                   P. O. Box 203029
                   Dallas, TX 75320-3029



                   Vermilion Parish Sheriff
                   P. O. Box 307
                   Abbeville, LA 70511



                   Vernon J. Engerran
                   231 Leeward Way
                   Freeport, TX 77541



                   Vinton Freedley, III
                   80 Cloudview Road
                   Sausalito, CA 94965



                   Virgil M. Blanchett
                   Route 1, Box 134
                   Senath, MO 63876



                   Virginia Dauterive Curry
                   203 Shannon Rd.
                   Lafayette, LA 70501



                   Vivian K. Zeringue, USUFRUCT
                   203 Lynwood Dive
                   Houma, LA 70360



                   Waldo J. Barras
                   890 E. Harrison Ave., Apt. #2
                   Pomona, CA 91767




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 65 of 69
                   Walker Louisiana Properties
                   P. O. Box 1048
                   Lake Charles, LA 70602



                   Walter Oil & Gas Corp.
                   Attn: Processing
                   1100 Louisiana, Suite 350
                   Houston, TX 77002



                   Walterine Porter Wagner
                   6800 Glengary Rd.
                   New Orleans, LA 70126



                   Wanda Wray Johnston Putman
                   2270 Cortina Ct.
                   Grand Junction, CO 81506



                   Wanda Zeringue Morris
                   43359 Shirely Canyon
                   Gonzales, LA 70737



                   Warren Joseph Lambert, Jr.
                   P.O. Box 814
                   Gramercy, LA 70052



                   Wayne D. Ankenman, Jr.
                   2704 West Lane Drive
                   Houston, TX 77027



                   Westmount Resoources, Inc.
                   5227 Stoneridge Court
                   Rosenberg, TX 77471



                   Whitnery Joseph Poirrier
                   2334 LA 20 West
                   Vacherie, LA 70090




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 66 of 69
                   Wilfred Louque, Jr.
                   P.O. Box 207
                   Paulina, LA 70763



                   Wililam Thomas Guerra
                   P. O. Box 906
                   Roma, TX 78584



                   William B. Pyle
                   P.O. Box 52430
                   Lafayette, LA 70505



                   William D. Patterson, Jr.
                   665 Baltzer-Rome Rd.
                   Tutwiler, MS 38963



                   William Joseph Lambert
                   5754 Hwy 44
                   Convent, LA 70723



                   William Morrison Curry, Jr.
                   413 Corona Drive
                   Lafayette, LA 70503



                   Williams Land Co., LLC
                   228 St. Charles Ave., Ste. 1323
                   New Orleans, LA 70130-2646



                   Willis Joseph Poirrier, Jr.
                   2340 LA 20 West
                   Vacherie, LA 70090



                   Willy J. Martin Jr.
                   Sheriff & Ex-Off Tax Collector
                   P. O. Box 83
                   Convent, LA 70723




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 67 of 69
                   Wood Group PSN, Inc.
                   P. O. Box 301415
                   Dallas, TX 75303-1415



                   Wood Group PSN, Inc.
                   17000 Katy Frwy, St. 150
                   Houston, TX 77094



                   X-Chem
                   P. O. Box 971433
                   Dallas, TX 75397-1433



                   Xerox Corporation
                   P. O. Box 650361
                   Dallas, TX 75265-0361



                   York Resources, Inc.
                   1722 Nantucket Drive
                   Houston, TX 77057



                   Yvonne M. Quijano
                   202 Dodge Ave.
                   Jefferson, LA 70121



                   Zedi US, Inc.
                   P. O. Box 51475
                   Lafayette, LA 70505-1475




17-51323 - #1 File 10/10/17 Enter 10/10/17 15:04:38 Main Document Pg 68 of 69
                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re      Linder Oil Company, A Partnership                                                            Case No.
                                                                                   Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Co-Manager of the partnership named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       October 10, 2017                                           /s/ G. Miles Biggs, Jr.
                                                                        G. Miles Biggs, Jr./Co-Manager
                                                                        Signer/Title




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